

Fernandez v GM Fin. (2025 NY Slip Op 50555(U))



[*1]


Fernandez v GM Fin.


2025 NY Slip Op 50555(U)


Decided on April 17, 2025


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on April 17, 2025
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Tisch, JJ.



570100/25

Segundo Fernandez, Plaintiff-Respondent,
againstGM Financial, Defendant-Appellant.




Defendant appeals from an order of the Civil Court of the City of New York, Bronx County (Andrea R. Krugman, J.), dated August 5, 2024, which denied its motion for summary judgment dismissing the complaint.




Per Curiam.
Order (Andrea R. Krugman, J.), dated August 5, 2024, reversed, without costs, motion granted, and the complaint dismissed. The Clerk is directed to enter judgment accordingly.
Civil Court should have granted defendant's unopposed motion for summary judgment dismissing the complaint. Defendant's submission in support of the motion established, prima facie, that the parties entered into a motor vehicle lease extension agreement that required plaintiff to make monthly payments by a date certain, and that plaintiff repeatedly failed to make timely payment pursuant to the agreement. Furthermore, plaintiff has not alleged that defendant breached any provision of the lease agreement. Accordingly, the summary judgment record established that plaintiff, not defendant, breached the agreement. 
Insofar as plaintiff alleged that defendant wrongfully reported his default under the lease to consumer reporting agencies, such claims are preempted by the Fair Credit Reporting Act, which preempts such state law claims "relating to the responsibilities of persons who furnish information to consumer reporting agencies" (15 USC § 1681t [b] [1] [F]; see Macpherson v JPMorgan Chase Bank, N.A., 665 F3d 45, 46-48 [2d Cir 2011], cert denied 566 US 975 [2012]; see also Manes v JPMorgan Chase Bank, N.A., 2022 WL 671631, 2022 US Dist LEXIS 39941 [SD NY Mar 7, 2022,No. 20-CV-11059 (VEC)]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: April 17, 2025









